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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                              HATTIESBURG DIVISION

KELLIE R. GARNER                                                                        PLAINTIFF

VERSUS                                                 CIVIL ACTION NO. 2:05cv377-KS-MTP

TOYS R US, ET AL                                                                     DEFENDANTS

                                  JUDGMENT OF DISMISSAL

       This cause comes before the Court sua sponte, the parties having announced that they have

reached a compromise and settlement of all pending claims in this matter. Accordingly, the Court

being desirous of removing this matter from its docket;

       IT IS, THEREFORE, ORDERED AND ADJUDGED that this case is hereby dismissed with

prejudice as to all parties. By agreement of the parties, the Court hereby retains jurisdiction to

enforce the settlement agreement, and if any party fails to consummate this settlement within 21

days, any aggrieved party may reopen the case for enforcement of the settlement agreement within

ninety (90) days thereafter; and if successful, all additional attorneys' fees and costs from this date

shall be awarded such aggrieved party or parties against the party failing to consummate the

agreement.

       IT IS FURTHER ORDERED AND ADJUDGED that this matter having been concluded, all

motions pending in this matter, if any, are hereby moot and accordingly dismissed.

       SO ORDERED AND ADJUDGED this 1st day of August, 2006.

                                       s/Keith Starrett
                                       UNITED STATES DISTRICT JUDGE
